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CLERK, U.S. DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No.; +9CR2708-H
Plaintiff, INFORMATION
vy. Title 8, U.S.C., Secs,
1324 (a) (1) (A) (ii), (v) (II) and
DAVID JAVIER SALAZAR-QUINTERO (2), Aliens for Financial Gain and
Alding and Abetting
Defendants.

 

 

 

 

The United States Attorney charges:

On or about July 3, 2019, within the Southern District of California,
defendants BYRON DARNELL LAW II and DAVID JAVIER SALAZAR-QUINTERO, knowing
and in reckless disregard of the fact that an alien, namely, VIRGINIO ROBERTO
AVENDANO-ROSALES, had come to, entered and remained in the United States in
violation of law, did knowingly transport and move said alien within the
United States, in order to help said alien remain in the United States
illegally, and which was done for the purpose of commercial advantage or
private financial gain; in violation of Title 8, United States Code,
Sections 1324(a) (1) (A) (ii), (v) (II) and (a) (1) (B) (ai).

DATED: 7/17/2019

ROBERT S. BREWER, UR.
iffed States Attfhrney

   

MARRETTA I. GECKOS
Assistant U.S. Attorney

MIG:om:7/17/2019

 
